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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


   IN RE: CENTURYLINK SALES
   PRACTICES AND SECURITIES                         MDL No. 17-2795 (MJD/KMM)
   LITIGATION
                                                   [PROPOSED]
   This document relates to                        CASE MANAGEMENT ORDER
   0:17-cv-02832, 0:17-cv-04613,                   NO. 3: STIPULATION AND
   0:17-cv-04614, 0:17-cv-04615,                   PROPOSED ORDER REGARDING
   0:17-cv-04616, 0:17-cv-04617,                   EFFECT OF CONSOLIDATED
   0:17-cv-04618, 0:17-cv-04619,                   CLASS ACTION COMPLAINT
   0:17-cv-04622, 0:17-cv-04943,                   AND UNDERLYING ACTIONS
   0:17-cv-04944, 0:17-cv-04945,
   0:17-cv-04947, 0:17-cv-05001,
   0:17-cv-05046


      Pursuant to the Parties’ Stipulation and Proposed Order Regarding Effect of

Consolidated Class Action Complaint and Underlying Actions (the “Stipulation”), and

for good cause shown, it is hereby ordered that:

      1.      Defendants expressly provide written consent to amend the pleadings in the

following cases and to add named plaintiffs and other amended allegations to those

complaints:

              a.    No. 0:17-cv-04613, No. 0:17-cv04615, No. 0:17-cv-04616, No.

                    0:17-cv-04617, No. 0:17-cv-02832, 0:17-cv-04945, 0:17-cv-04619,

                    and 0:17-cv-04622;

      2.      Each named plaintiff in each Consumer Action shall have an opportunity to

either voluntarily dismiss their action or file a Notice to Conform their constituent

complaints to the Consolidated Class Action Complaint (“CCAC”) filed in this matter
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(Dkt. 38) no later than 21 days from the filing of this Order. A Consumer Action by any

named plaintiff who does not voluntarily dismiss the action or file a Notice to Conform,

as provided herein, shall be stayed in accordance with the Stipulation;

       3.     The parties have reserved all of their original rights, including their rights

under 28 U.S.C. § 1407 and Lexecon, Inc. v. Milberg Weiss Bershad Hynes & Lerach,

523 U.S. 26 (1998), to have all underlying actions remanded to the District in which their

matters were originally filed in at the conclusion of coordinated pretrial proceedings.

       4.     The Court orders that, for all current Consumer Actions filed against

CenturyLink, Inc. and transferred to this MDL, service of the complaints shall be deemed

accepted. Defendant waives no defense other than insufficient process and insufficient

service of process (Rules 12(b)(4) and (5) of the Federal Rules of Civil Procedure), and

Defendant expressly reserves all other defenses, including but not limited to defenses

related to jurisdiction and venue.

       5.     The treatment of the CCAC and all underlying cases shall be handled in

accordance to the Stipulation.

IT IS SO ORDERED.


Dated: _______________                    ___________________________________
                                          Honorable Michael J. Davis




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